
PER CURIAM.
Except for a scrivener’s error, appellant has failed to show error has occurred regarding his sentence. See Washington v. State, 564 So.2d 168 (Fla. 5th DCA 1990). Accordingly, the judgment and sentence are affirmed but for the scrivener’s error, for which we remand. Upon remand, the trial court shall correct Parker’s sentence on the violation of probation charge to show that the sentence for the two lewd and lascivious counts should run concurrent with each other and consecutive to the sentence for the witness tampering charge.
Affirmed, but remanded for correction pursuant to this opinion.
RYDER, A.C.J., and THREADGILL and PARKER, JJ., concur.
